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ACLU OF HAWAII FOUNDATION                                   18-CV-477
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                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

A.B.1, by her parents and next friends,                  18-CV-477
                                              CIVIL NO. ____________
C.B. and D.B., and T.T., by her parents
and next friends, K.T. and S.T.               [CIVIL RIGHTS ACTION]
                        Plaintiffs,
             vs.                              COMPLAINT FOR
                                              DECLARATORY AND
HAWAII STATE DEPARTMENT OF                    INJUNCTIVE RELIEF
EDUCATION and OAHU
                                              [CLASS ACTION]
INTERSCHOLASTIC ASSOCIATION

                    Defendants.




      1
        In accordance with Local Rule 100.10.1(b) of the Local Rules of Practice
for the United States District Court for the District of Hawaii, the minor Plaintiffs
and their respective next friends are identified by their initials only. In accordance
with Local Rule 100.10.2(b), Plaintiffs are filing simultaneously herewith a
reference list under seal that identifies the parties’ full identities and will serve the
same upon Defendants.
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      A.B., by her parents and next friends, C.B. and D.B., and T.T., by her

parents and next friends, K.T. and S.T. (collectively, “Plaintiffs”), by and through

their attorneys, for this complaint, allege and aver as follows:

                                 INTRODUCTION

      1.     This case is about ensuring that female athletes in Hawaii’s public

schools are on a level playing field with their male athlete counterparts. Plaintiffs

are female athletes at James Campbell High School (“Campbell”), which is run by

the Hawaii State Department of Education (“DOE”). They are passionate and

dedicated athletes. Yet simply because of their gender, Plaintiffs experience

grossly unequal treatment, benefits, and opportunities in relation to male athletes.

      2.     As just one example of this disparity, for decades, male athletes at

Campbell have had exclusive access to a stand-alone athletic locker room facility

in which they can store gear, change, shower, use the bathrooms, hold team

meetings, and build team spirit. Female athletes have nothing comparable. As a

result, female athletes must lug their athletic gear around all day. Female athletes

must resort to changing in teachers’ closets, in the bathroom of the nearest Burger

King, and even on the practice field, risking potential exposure to bystanders. To

go to the bathroom, female athletes must run back to the campus gym (which is

located roughly two football fields in length away), use decrepit porta-potties

(which are sometimes locked), or face having to crouch down in the bushes.


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Perhaps most important, female athletes must carry the burden of knowing their

educational institution does not value them as much—that they are, in essence,

second-class—just because they are female.

      3.     The DOE has perpetuated these inequities for decades across its

schools. Since at least as early as 1978, the DOE was on notice that it had various

unmet deficiencies relating to its Title IX compliance. The DOE said it was

working to close those gaps. But what followed was four decades of delay in

providing female athletes with treatment, benefits, and opportunities equal to those

received by male athletes as required by Title IX.

      4.     Sadly, the DOE continues to illegally discriminate against female

athletes today. When making athletics decisions, boys’ sports come first, and girls’

sports second. As just one example of this skewed “boys first” mindset, the DOE’s

2016 “Master Plan for Athletic Facilities” recommended that one of its high

schools, Kailua High School, proceed with “upgrad[ing] the baseball field to a

playoff condition field” before building a “girls athletic locker room”—a facility

that was, and to this day remains, on the DOE’s official “Wish List” of items to

accomplish.2 As set forth below, the DOE’s decision-making at Campbell

continuously discriminates against girls.


      2
       Sato & Associates, Inc., Statewide Athletic Plan, Master Planning and
School Assessment, Job No. Q61002-12, Master Plan for Athletic Facilities, DEP’T
OF EDUC., STATE OF HAWAII (Feb. 2016) at PDF 4-5, available at

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      5.     The Oahu Interscholastic Association (“OIA”)—which administers

policies and regulations governing interscholastic athletics for all Oahu-based DOE

high schools, and which acts under the control of and in close coordination with

the DOE—also discriminates against girls in its decisions concerning

interscholastic athletics, including in scheduling of games, seasons, and

tournaments, as well as in publicity and promotion, at Campbell and other Oahu-

based DOE high schools.

      6.     Plaintiffs seek to change this unjust and unlawful state of affairs. On

behalf of the present and future female student athletes at Campbell, Plaintiffs

bring this class action against the DOE and the OIA (collectively, “Defendants”),

which have unlawfully discriminated on the basis of sex in violation of Plaintiffs’

rights under Title IX of the Education Amendments of 1972. Plaintiffs also seek

redress against the DOE for unlawfully retaliating against Plaintiffs when they

have brought such discrimination to the DOE’s attention.

      7.     On behalf of themselves and all others similarly situated, Plaintiffs

seek declaratory relief and permanent injunctive relief enjoining Defendants from

continuing to engage in unlawful sex-based discrimination. Defendants’

longstanding practice of putting female athletes of Hawaii second must end.



https://www.documentcloud.org/documents/4367267-HIDOE-Athletics-Master-
Plan-and-Assessment.html.

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                          JURISDICTION AND VENUE

      8.     This Court has jurisdiction under 28 U.S.C. §§ 1331 and 1343 because

Plaintiffs bring this action under Title IX of the Education Amendments of 1972,

20 U.S.C. § 1681 et seq. and its implementing regulations.

      9.     This Court may order declaratory and injunctive relief under 28

U.S.C. §§ 2201 and 2202 and Rule 57 of the Federal Rules of Civil Procedure.

      10.    Venue is properly in the United States District Court for the District of

Hawaii pursuant to 28 U.S.C. § 1391(b) because Defendants are located in this

district, and the events giving rise to Plaintiffs’ claims occurred in this District.

                                       PARTIES
Plaintiffs

      11.    Plaintiff A.B., age 17, is a twelfth-grade student at Campbell who

competes on the girls’ varsity water polo and the girls’ varsity swimming teams.

Defendants have discriminated against A.B. on the basis of her sex by denying her

equal athletic opportunities, treatment, and benefits. Because A.B. is a minor, she

brings this action by her next friends, her parents C.B. and D.B. A.B., C.B., and

D.B. are residents of Hawaii.

      12.    Plaintiff T.T., age 17, is a twelfth-grade student at Campbell who

competes on the girls’ varsity water polo and the girls’ varsity swimming teams.

Defendants have discriminated against T.T. on the basis of her sex by denying her


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equal athletic opportunities, treatment, and benefits. Because T.T. is a minor, she

brings this action by her next friends, her parents K.T. and S.T. T.T., K.T., and

S.T. are residents of Hawaii.

Defendants

      13.    Defendant DOE is the state administrative agency that manages the

statewide system of public schools consisting of 15 complex areas and 292

schools. Among the schools that the DOE manages is Campbell, which is a four-

year public high school located in Ewa Beach, Oahu. Campbell, which is part of

the DOE’s Leeward Oahu District, is the largest public high school in Hawaii in

terms of number of students. The DOE receives federal financial assistance and is

subject to the anti-discrimination provisions of Title IX.

      14.    Defendant OIA is an unincorporated athletic association composed of

all of the DOE’s secondary schools on the island of Oahu, Hawaii. The OIA is an

instrumentality of, and is controlled by, the DOE.

      15.    The DOE is pervasively entwined in the management and control of

the OIA. The OIA’s Executive Director is a DOE employee, and all five regular

members of the OIA’s Executive Council are principals of DOE high schools and

therefore also DOE employees.

      16.    The OIA also has controlling authority over many aspects of the

DOE’s interscholastic athletic programs, including competitive facilities;


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scheduling of seasons, games, and tournaments; travel; publicity and promotion;

and budget. The OIA indirectly receives federal financial assistance. The OIA is

subject to the anti-discrimination provisions of Title IX.

                           FACTUAL ALLEGATIONS

   I. DOE’s Long History of Non-Compliance with Title IX

      17.    Nearly half a century ago, Congress passed Title IX of the Education

Amendments of 1972, which prohibits discrimination on the basis of sex in any

federally funded education program or activity. Pub. L. No. 92-318, 86 Stat. 235,

373 (June 23, 1972) (codified at 20 U.S.C. § 1681 et seq.). The promise behind

Title IX was to root out sex discrimination in all aspects of education programs,

and to protect individuals against such discriminatory practices.

      18.    In 2002, Title IX was renamed the “Patsy T. Mink Equal Opportunity

in Education Act” in honor of Hawaii’s own Congresswoman Patsy Mink, the first

woman of color elected to Congress, and—notably for the purposes of this

lawsuit—a co-author and champion of Title IX.

      19.    In many respects, Title IX has been successful in increasing female

participation in athletics. As evidence of this success, in 1971, before Title IX was

enacted, only about 294,000 of the nation’s high school athletes—or roughly 7.4%




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of all high school athletes—were girls. Today, that number has risen over ten times

to over 3.4 million, meaning that about 42.8% of all high school athletes are girls.3

      20.    But at least within the State of Hawaii, Title IX’s promise remains

unfulfilled. Nearly half a century after Title IX took effect, the DOE today fails to

provide Campbell female student athletes (and female students at other Hawaii

public schools) with athletic opportunities, treatment, and benefits equal to those

provided to its male student athletes. And as the history of the DOE’s actions—and

particularly its inaction—shows, the DOE’s present failures are in fact the

continuation of four decades of noncompliance with Title IX.

   A. Initial Failures to Comply with Title IX: 1978 to 2000

      21.    Since as early as 1978—which is the year by which secondary schools

needed to be in compliance with Title IX—the DOE has been discriminating

against female athletes in violation of Title IX.

      22.    That year, a compliance officer from the federal Equal Employment

Opportunity Commission (“EEOC”) visited Hawaii to investigate the DOE’s

compliance with Title IX and other federal civil rights laws. The EEOC found

widespread Title IX problems. Among other things, the DOE had not: trained its

civil rights coordinators in monitoring educational programs for compliance with
      3
        National Federation of State High School Associations, 2017-18 High
School Athletics Participation Survey, at 54, available at
http://www.nfhs.org/ParticipationStatistics/PDF/2017-
18%20High%20School%20Athletics%20Participation%20Survey.pdf.

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federal sex discrimination laws; promulgated and implemented student and

employee Title IX grievance procedures; disseminated information regarding Title

IX to DOE students and staff; or monitored school athletic expenditures by sport

and sex. Many of these deficiencies remain to this day.

      23.    At the time, the DOE represented that it would remedy these Title IX

issues. But subsequent events demonstrate that the DOE never did so.

      24.    Indeed, over fifteen years later, in 1994, State Representative Jackie

Young sent a letter to the DOE expressing dismay about the many gender

inequities evident throughout DOE schools and specifically across its facilities for

practices and games, equipment and uniforms, travel opportunities, scheduling,

competitive opportunities, and budgeting.

      25.    After another five years of girls continuing to be denied access to

equality in sports, and fed up with the lack of progress, both the Hawaii state

legislature and the Governor acted to address the DOE’s failures in monitoring and

enforcing gender equality in athletics.

      26.    The Hawaii state legislature was first to act, passing a bill in 1999 that

would have “[p]rohibit[ed] discrimination in athletics on the basis of sex in any

public school” and “require[d] the [DOE] superintendent . . . to develop a strategic




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plan to ensure equity in sports participation.”4 This legislative action was stopped

by the Governor, who vetoed the bill because the DOE had expressly assured the

Governor that the agency was “in total compliance” with Title IX.

      27.    The DOE’s representations were false. In fact, in school year 1999-

2000, there were still vast Title IX non-compliance issues. For example, thirty-nine

schools had boys’ athletic locker rooms while only twenty-three had girls’ athletic

locker rooms—that is, at least sixteen DOE schools provided locker room facilities

in an inequitable manner, and in violation of Title IX.

      28.    Upon discovering that the DOE was not in compliance with Title IX,

then-governor Cayetano responded with executive action. He demanded that the

DOE commit to a timeline for coming into compliance, articulate precisely what its

short- and long-term compliance plans were, and start mandatory compliance

reviews at every public high school coupled with quarterly and annual reporting.

      29.    Shortly thereafter, in 2000, the legislature affirmed that a state law

was necessary to ensure that girls realize their right to equal athletic treatment and

opportunities in Hawaii’s public high schools and passed a law requiring gender

equity in athletics (the “Gender Equity in Athletics Law”).5

      4
         Gender Equity in Sports, House Bill 532 (1999),
https://www.capitol.hawaii.gov/session1999/status/HB532_his_.htm.
      5
         Gender Equity in Sports, Senate Bill 2475 (2000),
https://www.capitol.hawaii.gov/session2000/acts/Act229_SB2475_CD1_.htm
(codified at Haw. Rev. Stat. § 302A-461).

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   B. Continued Failure to Comply After Hawaii’s Executive and Legislative
      Branches Mandated Gender Equity in Athletics: 2000 to 2003

      30.      The Gender Equity in Athletics Law’s mandate was clear: “No

person, on the basis of sex, shall be excluded from participating in, be denied the

benefits of, or be subjected to discrimination in athletics offered by a public high

school, pursuant to Public Law 92-318, Title IX of the federal Education

Amendments of 1972.”

      31.      The Gender Equity in Athletics Law also created an advisory

commission on gender equity in sports (“Advisory Commission”) to support the

DOE in complying with Title IX’s requirements. The Advisory Commission’s

responsibilities included determining whether the DOE’s schools were coming into

compliance with Title IX, and making recommendations to the DOE and the state

legislature.

      32.      For three years, from 2000 to 2003, the Advisory Commission played

a key role in exposing routine delays in the DOE’s completion of baseline

compliance assessments and its piecemeal or misguided approaches to resolving

gender equity issues.

      33.      During this period, evaluations focused on athletic facilities,

scheduling, and coaching at five DOE high schools.6 The evaluations constituted

hundreds of pages, and produced damning results. Among the many findings of
      6
          Hilo, Kahuku, Kaiser, King Kekaulike, and Roosevelt.

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noncompliance: (1) four of the five schools provided better locker rooms for boys

than for girls; (2) the highest quality athletic facilities were typically assigned to

boys’ teams and not girls’ teams; (3) at one school, boys’ teams had three different

dressing rooms available to them, whereas girls’ teams had access to a single

dressing room; and (4) across the board, boys’ teams had far more opportunities to

engage in pre-season competition than girls’ teams.

      34.    In 2003, the Advisory Commission issued its final report. The report

noted that minimal progress had been made regarding gender equity in DOE

schools, and highlighted several stark disparities that remained, including the need

to build and upgrade girls’ athletic locker rooms at many high schools statewide.

      35.    The Advisory Commission’s report also found that the DOE was not

in compliance with the U.S. Department of Education’s athletic participation

opportunities test. Specifically, the athletic participation rate of girls in DOE

schools was substantially disproportionate relative to student enrollment. While

girls constituted nearly 48% of students enrolled in DOE schools, they only made

up 40% of athletic participants—representing a nearly 8% participation gap. This

meant that hundreds or thousands of girls were not getting the chance to play

compared to their male counterparts.




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   C. Progress on Gender Equity Reverses Course: 2004 to Present

       36.     After the Advisory Commission’s work concluded, progress regarding

gender equity in athletics has halted and, in several respects, even regressed.

       37.     For example, according to DOE self-assessments conducted in or

around 2005, at least twelve high schools—including Campbell—identified

themselves as needing plans to reassign locker rooms from male athletes to female

athletes because of ongoing inequalities in the allocation of athletic locker room

facilities.7

       38.     Yet, according to the DOE’s 2016 “Master Plan for Athletic

Facilities,” of the twelve high schools identified as having inequitable locker room

facilities, at least four (Baldwin, Campbell, Kahuku, and Waialua) still failed to

provide stand-alone athletic locker rooms to girls in 2016.8 That is, one third of the

schools that the DOE had conclusively identified as needing remediation in 2005

still had not yet reassigned locker rooms from boys to girls or had not yet closed

the gender disparity in other respects eleven years later.

       39.     According to the same “Master Plan for Athletic Facilities,” as of

2016, ten additional schools had athletic locker rooms for boys but not for girls.

       7
        The following high schools were identified as having an inequitable
distribution of athletic locker room facilities: Aeia, Baldwin, Campbell, Farrington,
Hilo, Kahuku, Kaimuki, Kau, Keeau, Leilehua, McKinley, Waialua, and Waianae.
       8
      Upon information and belief, the same inequities persist at Baldwin,
Campbell, Kahuku, and Waialua high schools as of this filing.

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      40.    Thus, thirteen years after the Advisory Commission’s final report—

and nearly fifty years after Title IX was passed—the disparity in athletic locker

rooms between female athletes and male athletes remains essentially unchanged; at

least fourteen high schools provide athletic locker rooms for their male athletes,

but not for their female athletes.

      41.    In addition to inequitable facilities, Title IX compliance monitoring

and enforcement by the DOE has effectively halted. For the past few years, there is

no public record that DOE schools have conducted compliance reviews or

submitted reports about Title IX compliance. This is so in spite of the fact that the

DOE has expressed a commitment to conduct these reviews and submit these

reports, and otherwise comply with Title IX.

      42.    The DOE’s regression with respect to Title IX compliance is troubling

in light of history: Title IX non-compliance in DOE schools has been the focus of

prior litigation before this Court. In 2010, the ACLU of Hawaii filed a lawsuit in

the U.S. District Court for the District of Hawaii on behalf of three female athletes

at the DOE’s Baldwin High School in Wailuku, Maui, to rectify the DOE’s

discriminatory treatment of the Baldwin High School girls’ softball team. 9

      43.    In granting the plaintiffs’ motion for a preliminary injunction, Judge

David Alan Ezra concluded that “the evidence is very clear that the girls’ facilities
      9
       Nobriga v. Dep’t of Educ., State of Hawaii, 1:10-cv-159-DAE-LK, Doc. 1
(D. Haw. Mar. 18, 2010).

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are decidedly inferior to those of the boys’, and they have been for years.”10 Judge

Ezra emphasized that he believed “without reservation that the Department of

Education and the people who acted in concert . . . have not met Title IX or

constitutional standards, period. This isn’t even a close question.”11 Given the

extreme disparities he had observed, Judge Ezra expressed surprise at the DOE’s

non-compliance: “Why somebody didn’t file a Title IX suit on this years ago is

beyond me . . . .”12

      44.      Shortly after Judge Ezra’s ruling, the DOE entered into a settlement

agreement with the plaintiffs that required the DOE to, among other things,

improve and expand existing girls’ softball facilities, and build a new girls’ softball

practice field on par with the field already existing for boys.13

      45.      Despite the 2010 Baldwin High School lawsuit, the DOE has not

ensured gender equity in athletics statewide. Across the board, the DOE’s gender

equity policies and practices remain deficient. In failing to address the vast

disparities that remain, the DOE has shown that it acts only when individuals

threaten—or, in this case, file—legal action.

      10
           Nobriga, 1:10-cv-159-DAE-LK, Doc. 37, at 37 (D. Haw. Apr. 7, 2010).
      11
           Id. at 42-43.
      12
           Id. at 37.
      13
          Curtis Lum, Baldwin Softball Will Get New Field, THE HONOLULU
ADVERTISER (Apr. 8, 2010),
http://the.honoluluadvertiser.com/article/2010/Apr/08/ln/hawaii4080344.html.

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      46.    Female athletes at Campbell and across Hawaii have been waiting for

nearly fifty years to receive the same treatment, benefits, and opportunities as male

athletes as mandated by law. Instead of moving forward to close the gender gap,

the DOE appears to be going backwards.

      47.    It is precisely because of the DOE’s longstanding failure to comply

with Title IX that Plaintiffs file the present lawsuit.14

   II. The Unequal Female Athletic Experience at Campbell High School

      48.    Campbell is a four-year public high school located in Ewa Beach,

Oahu, and run by the DOE.

      49.    Of the DOE’s approximately 55 high schools statewide, Campbell

serves the most students, matriculating 3,123 students in the 2017-2018 school

year. Of those students, 1,506 were female and 1,617 were male.
      14
          The DOE’s indifference to complying with Title IX is not limited to
athletics. On December 20, 2017, the DOE and the United States Department of
Education entered into a resolution agreement to address deficiencies in the DOE’s
policies, procedures, and processes used for responding to complaints of
harassment of students on the basis of race, color, national origin, sex, or disability.
See Resolution Agreement, OCR Docket No. 10-11-5003 (Dec. 20, 2017),
available at
https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/10115003-
b.pdf. The United States Department of Education did not investigate—and
consequently the resolution agreement did not address—the DOE’s failure to
provide equal treatment, benefits, and opportunities in athletics under Title IX. See
Letter from Linda Mangel, Regional Director, U.S. Department of Education,
Office for Civil Rights, to Dr. Christina Kishimoto, Superintendent, DOE (Jan. 19,
2018), available at
https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/10115003-
a.pdf.

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       50.    The female athletic experience at Campbell today is a byproduct of

the DOE’s historically inequitable treatment of female athletes in Hawaii’s public

schools: female athletes receive worse treatment, fewer benefits, and fewer

opportunities than male athletes.

       51.    Many aspects of the female athletic experience at Campbell are

controlled or greatly influenced by the OIA, which through its policies and

practices also treats female athletes inequitably by providing them worse treatment,

fewer benefits, and fewer opportunities than male athletes.

       52.    Upon information and belief, the female athletic experience at other

DOE high schools is substantially similar to that at Campbell.

   A. The DOE and the OIA’s Sex-Based Discrimination in Athletic
      Treatment and Benefits

       53.    The DOE has failed to provide an effective system for Title IX

implementation, monitoring, and compliance across its schools statewide.

       54.    Partly due to this lack of oversight, the DOE fails to provide equitable

athletic treatment and benefits to Campbell female students in comparison to male

students.

       55.    As described below, the DOE’s sex-based discrimination is evident in

its: (i) athletic locker rooms, practice facilities, and competitive facilities; (ii)

equipment and supplies; (iii) scheduling of games and practice times; (iv)



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availability and quality of coaching; (v) travel opportunities; (vi) medical and

training services and facilities; and (vii) publicity and promotion.15

      56.    As described below, the OIA’s sex-based discrimination is evident in

its: (i) competitive facilities; (ii) scheduling of games; (iv) travel opportunities; and

(iv) publicity and promotion.

                 i. Locker rooms, practice facilities, and competitive facilities

                        1. Absence of athletic locker room for female athletes

      57.    Campbell is one of the many DOE high schools that fails to provide

athletic locker room facilities to female athletes while simultaneously providing

such facilities to male athletes.16


      15
        These are some of the factors that the U.S. Department of Education
considers in determining whether a school provides equal athletics benefits and
opportunities in compliance with Title IX. See 34 C.F.R. § 106.41(c).
      16
          DOE high schools usually have three types of locker rooms: P.E. locker
rooms, gym locker rooms, and athletic locker rooms. P.E. locker rooms are used
exclusively for physical education students during the school day. They are
generally closed to student-athletes after school hours. Gym locker rooms are
attached to the gym and primarily serve student-athletes participating in indoor
sports (e.g., volleyball, basketball). Athletic locker rooms are typically stand-alone
facilities (often near the school’s athletic fields) that primarily serve student-
athletes participating in outdoor sports (e.g., track and field, cross country, softball,
baseball, football, soccer). Such athletic locker rooms typically are substantially
larger and of higher quality than P.E. and gym locker rooms, and also contain more
amenities such as toilet stalls, larger and more numerous lockers, showers, and
offices. Some DOE high schools have athletic locker rooms attached as annexes to
gym locker rooms, rather than as stand-alone facilities. For the purpose of this
complaint, “athletic locker room” refers to a school’s stand-alone athletic locker
room facility and/or any such annex to the gym locker room.

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      58.    Specifically, male athletes at Campbell have exclusive access to a

stand-alone athletic locker room facility that is located near the athletic fields. This

standalone athletic locker room is a very large facility that is at least two times the

size of the gym-based locker room. The stand-alone athletic locker room has about

120 full-size lockers, showers, and at least four bathroom stalls. The stand-alone

athletic locker room also has air conditioning and an office.

      59.    By contrast, female athletes at Campbell have no standalone athletic

locker room facility, whether located near the athletic fields or elsewhere on

campus. That is, female athletes have no full-size lockers, no showers, no

bathrooms, no air conditioning, and no office near the athletic fields.

      60.    Instead, female athletes, including Plaintiffs, must carry their athletic

gear around with them all day and have resorted to changing in teachers’ closets, in

the bathroom of the nearest Burger King, and even on the practice field, potentially

in full view of bystanders. To use the bathroom, female athletes must run back to

the main campus, use decrepit porta-potties (which are sometimes locked), or face

crouching down in the bushes. Plaintiffs, who are part of the girls’ water polo

program, sometimes have no practical choice but to change on the bus.

      61.    The absence of an athletic locker room facility has many negative

effects on female athletes at Campbell.




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          62.   Female athletes at Campbell, including Plaintiffs, experience constant

stress and inconvenience from the lack of athletic locker room facilities. For

example, female athletes experience stress and inconvenience when they are forced

to lug their equipment and gear throughout the school day. This interferes with

their ability to concentrate on schoolwork during the academic day.

          63.   Female athletes at Campbell also experience stress and inconvenience

when they struggle—after school ends and before sports practice begins—to find a

place in which to change into athletic attire.

          64.   Additionally, because they do not have access to athletic locker room

facilities, unlike their male counterparts, some female athletes at Campbell

hurriedly shuttle home after school to gather equipment and change into practice

attire.

          65.   Some female athletes at Campbell are penalized by their coaches

when they show up late to practice because they cannot find places in which to

change, or because the places that they do find are overcrowded, costing them

more time to make the transition after school ends.

          66.   Campbell female athletes’ privacy is routinely compromised as a

result of the lack of access to locker room facilities. About half of the girls’ softball

program and about half of the girls’ cross country program change in the bleachers

by the field, with students holding up jackets to cover one another in an attempt to


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preserve their teammates’ privacy. Female athletes in the wrestling program also

change and conduct weigh-ins in the Campbell hallways. Female athletes in the

judo program change and conduct weigh-ins in the corner of the gym or in the

hallway, and male athletes sometimes walk in on the female athletes, including as

recently as two weeks ago.

                       2. Absence of practice facilities for female athletes

      67.    Campbell is one of the many DOE high schools at which girls’ sports

programs do not have adequate access to practice facilities.

      68.    The Campbell girls’ water polo program has been consistently treated

unequally when it comes to securing practice facilities. For example, during the

2017-18 school year, the DOE failed to secure a pool for the girls’ water polo

program until after the season had already started.

      69.    As a result of the DOE’s inattention to girls’ sports, the Campbell

girls’ water polo program was left with no choice but to hold dry-land training

sessions and open-ocean swim practices at Puuloa Beach Park.

      70.    Also, as a result of the DOE’s inattention to girls’ sports, the

Campbell girls’ water polo program played at least two regular season games

without having had a single minute of practice time in a pool.

      71.    In fact, the DOE’s failures with respect to the Campbell girls’ water

polo program are memorialized in the 2018 Campbell yearbook:


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      72.   This failure occurred even though the students, coaches, and parents

associated with the girls’ water polo program made various efforts in an attempt to

get the DOE and the Campbell administration to secure a pool.

      73.   Worse, when members of the Campbell girls’ water polo program

continued to raise their concerns with the Campbell Principal Jon Henry Lee and

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Athletic Director Samuel Delos Reyes, the Campbell administrators retaliated on at

least three separate occasions by threatening to “cancel” the water polo team, the

water polo season, or both.

      74.    By contrast, at the same time that the girls’ water polo program was

lobbying the DOE and the Campbell administration to secure a practice facility, the

Athletic Director was attempting to secure off-season athletic opportunities for the

boys’ baseball and boys’ football programs.

      75.    The girls’ water polo program was approximately two weeks into the

competitive season when the DOE finally secured a pool in which the girls’ water

polo program could practice.

      76.    Additionally, although the DOE legally secured the pool by signing

the necessary paperwork, the Campbell girls’ water polo coach still had to use his

own personal funds to pay to use a regulation-sized pool. The girls’ water polo

coach spent approximately $60 per day, two days a week, because the DOE would

not provide funding.

      77.    The Campbell girls’ water polo program’s experience during the

2017-18 school year is not unique. For at least the five prior years, the girls’ water

polo program had encountered similar problems gaining timely access to a pool in

which to practice. For example, the girls’ water polo program has recently had to




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practice in a non-regulation pool divided and shared with neighboring rival,

Kapolei High School.

      78.    The Campbell cheerleading program17—which is all-female—also has

been consistently treated unequally when it comes to securing practice facilities.

The Campbell cheerleading program has no dedicated practice facility and

regularly has trouble finding places in which to practice.

      79.    Even when it finds a temporary space in which to practice, the

Campbell cheerleading program is frequently displaced by other athletic programs.

Because of this displacement, the Campbell cheerleading program sometimes has

to practice in the Campbell cafeteria, where students resort to changing behind

tables. During at least some portion of the 2017-18 school year, the cheerleading

program had nowhere to store its mats.

                       3. Unequal facilities

      80.    In addition to the complete absence of facilities for certain girls’

sports programs, the DOE provides unequal facilities to girls’ sports programs in

relation to boys’ sports programs.



      17
         Plaintiffs do not have sufficient information to take a legal position on
whether cheerleading at Campbell counts as an interscholastic athletic activity for
the purpose of determining Title IX compliance. See U.S. Dep’t of Educ. Office for
Civil Rights, Dear Colleague Letter: Athletic Activities Counted for Title IX
Compliance (Sept. 17, 2008),
https://www2.ed.gov/about/offices/list/ocr/letters/colleague-20080917.html.

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      81.     For example, Campbell is one of the many DOE high schools at

which the girls’ softball program’s facilities are unequal in relation to the boys’

baseball program’s facilities.18

      82.     The DOE provides the Campbell boys’ baseball program more

facilities and facilities of a higher quality than those provided to the girls’ softball

program. The boys’ baseball program has a dedicated “baseball house,” with a

couch and mini-fridge, that is used to store equipment, hold meetings, and gather

before practice. Additionally, the boys’ baseball program has a large storage

container in which to store gear and equipment. The boys’ baseball program has a

batting cage that is for its exclusive use. The boys’ baseball program has access to

bathrooms in the stand-alone athletic locker room facility, or unisex porta-potties

that are conveniently located next to the baseball field.

      83.     By contrast, the DOE provides the girls’ softball program —which

has been Softball Division I state champions four times during the last eight

years19—few facilities and facilities of lower quality in comparison to their male

counterparts. The girls’ softball program has no dedicated “softball house”—or any

      18
         According to the DOE, a renovation of the softball field is “currently in
progress,” but it is unclear when such renovation will be completed. In fact, as of
April 2018, the DOE reported that, rather than being in progress, the “[s]oftball
field renovations are in the planning stage.” Ewa Beach Neighborhood Board No.
23 Meeting Minutes (Apr. 12, 2018), available at http://www.honolulu.gov/cms-
nco-menu/site-nco-sitearticles/31332-ewa-nb-april-minutes.html.
      19
           The boys’ baseball program has been champions once during that period.

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facility even remotely equivalent. The girls’ softball program has a storage

container, but it is half the size of the boys’ container and has so many cracks in

the roof that everything is ruined if softball players leave equipment in the

container when it rains. The girls’ softball program has no batting cage. The girls’

softball program has no access to bathroom facilities near the softball field, so they

must instead resort to using the porta-potties (which are located next to the

baseball field and are sometimes locked), running to the gym (which is located

roughly two football fields in length away), or crouching down behind the storage

container.

      84.    The boys’ baseball field is also located closer to the school and on the

better section of the shared athletic field area. Specifically, the baseball field is at a

higher elevation than the softball field.

      85.    The girls’ softball field, on the other hand, is located further away

from the school and on the worst section of the shared athletic field area. Because

the softball field is at a lower elevation than the baseball field, when it rains, the

softball field frequently floods and requires the use of sponges and other drainage

methods to make the field usable by the softball program.




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                         4. Unequal facility maintenance

      86.      In addition to the stark disparities that exist between the athletic

facilities provided to boys relative to girls, the Campbell administration provides

better maintenance regarding boys’ facilities as compared to girls’ facilities.

      87.      For example, the boys’ football program had its broken lights on the

football field fixed immediately, whereas the girls’ soccer program could not even

convince the Campbell administration to install lights for after-dark practice and

competition.

      88.      The soccer field is frequently irrigated during scheduled girls’ soccer

practices, forcing the girls’ soccer program to practice inside the gym, which is

dangerous because of the increased risk of slippage and knee injuries from the

smooth hard surface.

      89.      Upon information and belief, the DOE uses funding, accepts

contributions, or allows funding to be used (regardless of source) to provide

unequal athletic treatment and benefits to male athletes as compared to female

athletes with respect to athletic locker rooms, practice facilities, and competitive

facilities. Upon information and belief, this unequal provision of benefits has been

longstanding and has led to—and will continue to lead to—unequal practice and

competitive facilities over time.




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      90.      Thus, the DOE and the Campbell administration have a systematic

policy and practice of using limited resources and capacity to provide better

athletic facilities and benefits to male athletes as compared to female athletes.

                        5. Unequal allocation of competitive facilities

      91.      The DOE and the OIA (which acts under the control of, and in close

coordination with, the DOE) determine which competitive facilities are used by

athletic programs in DOE interscholastic athletic competition.

      92.      The DOE and the OIA unlawfully discriminate against female athletes

by consistently allocating the prime competitive facilities to boys’ sports programs.

      93.      For example, upon information and belief, the DOE and the OIA grant

the boys’ football programs exclusive use of Aloha Stadium, which, as the largest

stadium in Hawaii, is the premier competitive facility in the state. The Campbell

boys’ football program used Aloha Stadium as recently as November 2, 2018,

when it competed in an OIA championship playoff game against Farrington High

School. The Campbell boys’ football program also competed there in an OIA

playoff game in October 2017. By contrast, upon information and belief, no girls’

sports program has ever had the opportunity to use Aloha Stadium for athletic

competition.




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                ii. Equipment and supplies

      94.    The provision of equipment and supplies is inequitable between

female and male athletes at Campbell.

      95.    Upon information and belief, the DOE uses funding, accepts

contributions, or allows funding to be used (regardless of source) to provide

unequal athletic treatment and benefits to male athletes as compared to female

athletes with respect to equipment and supplies. Upon information and belief, this

unequal provision of benefits has been longstanding and has led to—and will

continue to lead to—unequal equipment and supplies over time.

      96.    The DOE consistently does not provide proper equipment and gear to

the Campbell girls’ water polo program. For the most part, the girls’ water polo

program relies on parents to use personal funds to purchase equipment. For

example, a couple years ago, parents bought replacement swimsuits for the water

polo athletes because the DOE failed to provide them. The girls’ water polo

program also used to have old swim caps that did not meet game regulations.

These old swim caps further posed a serious safety and choking hazard because

they were loose, stretched out, and often fell behind the athletes’ heads while

hanging around their necks, which created more drag underwater and allowed

opponents to pull the athletes underwater.




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      97.    The girls’ soccer program experiences similar problems obtaining

proper equipment and gear. For example, during the 2016-17 school year, a parent

of a girls’ soccer team player used personal funds to purchase new uniforms

because the DOE failed to provide them.

      98.    Meanwhile, the football program has no trouble obtaining proper

equipment and gear, which are refreshed on a regular basis. Upon information and

belief, the DOE provides the Campbell boys’ football program proper equipment,

gear, and supplies.

               iii. Scheduling of games and practice time

      99.    The DOE and the OIA control and operate the scheduling of seasons,

games, and tournaments relating to interscholastic athletics in DOE schools.

      100. The scheduling of games and practice times is inequitable between

female and male athletes at Campbell.

      101. Friday nights are considered prime time for athletic competition at

Campbell because they draw the largest crowds and student and community

support. However, based upon the publicly available schedules of Campbell sports

programs’ games in the 2018-19 school year, three quarters of the Friday night

slots are designated for boys’ sports programs. By contrast, girls’ sports programs

rarely play on Friday nights.




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      102. In fact, girls’ sports programs tend to play on less ideal days. For

example, during the 2017-18 school year, the girls’ softball program played many

of its regular season games on Tuesdays and Thursdays, which are less ideal days

than Fridays or weekend days, because games in the middle of the week do not

draw large crowds and student and community support, and also interfere with

student-athletes’ ability to attend school, complete homework, and study for tests.

      103. By contrast, during the 2017-18 school year, the boys’ baseball

program typically played regular season games on Fridays or weekend days.

      104. This inequitable scheme is substantially the same regarding practice

time. The DOE illegally discriminates against practice times for girls’ sports in

favor of those for boys’ sports.

      105. For example, the boys’ basketball program is allowed to hold double

practices at the expense of the girls’ volleyball program. Specifically, the boys’

basketball program displaces the girls’ volleyball program whenever the boys’

basketball program decides it wants to have additional practice.

      106. As another example, during the spring, even though the boys’ football

program is in its off-season, it regularly displaces the track and field program.

      107. The girls’ programs also practice during less preferable times in

relation to when the boys’ programs practice.




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       108. For example, even though the track and field program is co-

educational, the girls’ track and field athletes almost always start their practice

first, at around 3 p.m., when the heat and humidity is most oppressive. Meanwhile,

the boys’ track and field athletes start their practice later, at around 4:30 p.m.,

when the weather is cooler and the sun is less intense.

       109. The girls’ soccer program practices on the field after the football

program. The field is often full of divots created by football practice, making it

dangerous for the girls’ soccer program to practice and leading to increased

injuries.

                iv. Availability and quality of coaching

       110. The DOE provides female student athletes at Campbell fewer

opportunities to receive coaching in comparison to male student athletes.

       111. Upon information and belief, the DOE does not provide female

athletes the same or similar number of coaches as it provides male athletes.

Specifically, the DOE provides more coaches on a per-athlete basis to boys’ sports

teams than to girls’ sports teams.

       112. The DOE also discriminates against girls by failing timely to fill gaps

in coaching positions for girls’ sports as compared to coaching positions for boys’

sports. Upon information and belief, Campbell presently has no girls’ varsity

softball coach and no girls’ soccer coach. Upon information and belief, the


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coaching vacancies for boys’ sports are filled more quickly than those for girls’

sports. Upon information and belief, the DOE and the Campbell administration

illegally discriminate by hiring coaches for boys’ sports over girls’ sports.

      113. Further, upon information and belief, the DOE does not provide

female athletes coaches of the same experience and qualifications as those

provided to their male counterparts. Upon information and belief, the DOE hires

coaches for girls’ sports programs who are less experienced and qualified than

those hired for boys’ sports programs.

      114. The DOE provides unequal compensation between coaches of girls’

sports programs and coaches of boys’ sports programs.

      115. For example, for two of the past three years, the assistant coaches of

the girls’ water polo program did not receive any compensation.

      116. Upon information and belief, the reason that the coaches for the girls’

water polo program did not receive compensation is that the DOE decided to use

the monies allocated for the girls’ water polo program both to provide greater

compensation to boys’ football program coaches, and to provide more assistant

coaches to the boys’ football program.

      117. Upon information and belief, every head coach and every assistant

coach of a boys’ sports team receives compensation for coaching services provided

to Campbell’s male athletes.


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      118. Upon information and belief, and as a result of the disparities in

coaching described above, the tenure of coaches and assistant coaches for girls’

sports programs tends to be substantially shorter than the tenure of coaches and

assistant coaches for boys’ sports programs. For example, the girls’ water polo

program has had three different head coaches in the last four years, which has been

incredibly disruptive to the water polo athletes. Indeed, both A.B. and T.T. have

had a different water polo coach each year they have attended Campbell.

      119. The disparities in the number of coaches, their qualifications, their

compensation, and their tenure significantly reduce female athletes’ opportunities

to grow as athletes, both individually and as a team.

      120. Upon information and belief, the DOE uses funding, accepts

contributions, or allows funding to be used (regardless of source) to provide

unequal athletic treatment and benefits to male athletes as compared to female

athletes with respect to coaching. Upon information and belief, this unequal

provision of benefits has been longstanding and has led to—and will continue to

lead to—unequal coaching over time.

                v. Travel opportunities

      121. The DOE and the OIA control and operate the travel opportunities

relating to interscholastic athletics in DOE schools.




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      122. The DOE and the OIA’s provision of travel opportunities is

inequitable between female and male athletes at Campbell.

      123. Upon information and belief, the DOE uses funding, accepts

contributions, or allows funding to be used (regardless of source) to provide

unequal athletic treatment and benefits to male athletes as compared to female

athletes with respect to travel opportunities. Upon information and belief, this

unequal provision of benefits has been longstanding and has led to—and will

continue to lead to—unequal travel opportunities over time.

      124. The boys’ varsity football team frequently travels to neighbor islands

in the State of Hawaii as well as to locations outside of the state for both in-season

and off-season playing opportunities.

      125. During the 2017-18 school year, the boys’ varsity football team

traveled to Las Vegas during the winter off-season to participate in a regional

tournament.

      126. During the 2018-19 school year, the boys’ varsity football team

traveled to the Big Island to play in a non-conference game against a Big Island-

based team.

      127. During the 2018-19 school year, the Campbell Athletic Director

contracted for the boys’ varsity football team to travel to Phoenix, Arizona, for a

week-long “road trip” that included games against a Phoenix-based football team.


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      128. As another example, during the 2017-18 school year, the boys’ varsity

baseball team flew to the Big Island and Maui for some of its games and

tournaments.

      129. Girls’ varsity sports teams do not have—and have not had—similar

opportunities to travel off the island of Oahu or out of state for practice,

competition, or other forms of athletic enrichment.

                vi. Medical and training services and facilities

      130. Female student-athletes experience the inequitable provision of

medical and training services, and inequitable access to such facilities in

comparison to their male counterparts.

      131. Upon information and belief, the DOE uses funding, accepts

contributions, or allows funding to be used (regardless of source) to provide

unequal athletic treatment and benefits to male athletes as compared to female

athletes with respect to medical and training services and facilities. Upon

information and belief, this unequal provision of benefits has been longstanding

and has led to—and will continue to lead to—unequal medical and training

services and facilities over time.

      132. For example, during the 2017-18 school year cross country season, on

at least one occasion, female cross country athletes were seeking treatment from

the trainers in the gym. When members of the boys’ football program entered the


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training room, the female cross country athletes were asked to move aside so that

the boys’ football players could be treated first.

      133. Trainers are less likely to be present at girls’ games than boys’ games.

      134. For example, for several years before the present school year, the

Campbell trainers did not attend a single girls’ water polo game.

      135. The 2017-18 school year was the first year in the past four years that

the Campbell trainers attended a girls’ water polo game. Nonetheless, Campbell

trainers attended only about three of the twelve games that the girls’ water polo

team played during the 2017-18 school year. Notably, the Campbell trainers were

relied on by the water polo team to address injuries each time they were present at

games, showing that they play a necessary and valuable role in athletics.

      136. Upon information and belief, at least one Campbell trainer attends

every boys’ football or boys’ baseball game.

      137. Because of the DOE’s discrimination, Campbell female athletes have

been put at increased risk of injury. For example, three seasons ago, a water polo

athlete was experiencing hyperventilation, a panic attack, and muscle cramps. No

Campbell trainer was present for the game, and the athlete was lucky to be able to

rely on a non-Campbell trainer to address her medical needs.




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              vii. Publicity and promotion

      138. The DOE and the OIA control and operate the publicity and

promotion relating to interscholastic athletics in DOE schools.

      139. Upon information and belief, girls’ sports are less often publicized

and promoted by the DOE and the OIA, and when girls’ sports are publicized and

promoted, female athletes are often recognized merely as an afterthought.

      140. Upon information and belief, the DOE uses funding, accepts

contributions, or allows funding to be used (regardless of source) to provide

unequal athletic treatment and benefits to male athletes as compared to female

athletes with respect to publicity and promotion. Upon information and belief, this

unequal provision of benefits has been longstanding and has led to—and will

continue to lead to—unequal publicity and promotion over time.

      141. The DOE and the OIA illegally discriminate by consistently giving

preferential treatment to the Campbell boys’ football program and the boys’

baseball program with respect to publicity and promotion, including, as previously

alleged, as a result of the inequitable scheduling of games. Specifically, when

boys’ athletic programs receive better schedules (such as Friday and weekend

days), they are more likely to receive media coverage, and people are more likely

to be available to watch.




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      142. The girls’ sports programs do not receive similar publicity and

promotion, including as a result of the inequitable scheduling of games.

      143. The “Photo Albums” page of the Campbell website is instructive of

this disparity between the promotion of girls’ sports and boys’ sports. The

Campbell website includes albums on various school events, including

homecoming, graduation, contests, and athletics.20 Yet, all of the athletics-related

photo albums on the Campbell website are of the boys’ football program. In fact,

of the approximately 600 total photos on the “Photo Albums” page of the

Campbell website, over 250 photos—or over 44% of all Campbell photos—depict

the boys’ football program.

      144. By contrast, zero photo albums—and, upon information and belief,

zero photos—on the “Photo Albums” page of the Campbell website depict a girls’

sports program.

      145. Additionally, the DOE decided to schedule cheer and band only for

football athletic events. Therefore, the Campbell cheerleaders and band do not

attend any girls’ athletic events or promote any of the girls’ sports programs.

      146. The DOE and the Campbell administration inequitably publicize and

promote girls’ sports in other ways.




      20
           See https://www.campbellhigh.org/apps/album/#!&s=0

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        147. For example, the DOE and the Campbell administration have failed

on several occasions to recognize the girls’ water polo program. During one

athletic award assembly at which every sports program was to be recognized, the

Campbell administration completely forgot about the water polo program. Because

the Campbell administration forgot about the water polo program, a Campbell staff

member scribbled lettering on a poster while the assembly was already occurring

as a belated attempt to recognize the water polo program.

        148. During a separate pep rally, the Campbell administration recognized

the achievements of various Campbell sports programs, but again failed to

recognize those of the girls’ water polo program—even though the team had

advanced to the state championship for the first time that season.

        149. The Campbell Athletic Director has a history of making disparaging

remarks towards the girls’ water polo program. For example, at one game during

the 2014-15 school year, the Athletic Director joked that, if the water polo program

was going to lose, Campbell should not even have a water polo program. Despite

the Athletic Director’s remark, the Campbell girls’ water polo program won that

game.

   B. The DOE’s Failure to Effectively Accommodate Female Students’
      Interest and Abilities Regarding Participation Opportunities

        150. During the 2017-18 school year, Campbell had 3,123 students

enrolled: 1,506 students were girls and 1,617 were boys. Thus, girls represent

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about 48.2% of the student body at Campbell, while boys represent about 51.8% of

the student body.

      151. However, based on information and belief and incomplete available

data,21 there are approximately 345 female athletes and 484 male athletes at

Campbell. This means that female athletes account for about 41.6% of the athletic

opportunities at Campbell, while male athletes account for about 58.4% of the

athletic opportunities.

      152. Thus, there exists a 6.6 percentage-point participation gap between

female athletic participation and female student body enrollment.22

      153. Based on this participation gap, at least 106 additional opportunities

for female athletes must be added to meet part one of the Title IX’s three-part test

(substantial proportionality).




      21
        The ACLU of Hawaii sent the DOE a public records request under the
Uniform Information Practices Act (“UIPA”) asking for, among other things,
“gender participation rates in athletic programs, teams, and opportunities from the
2009-2010 school year to present.”
      22
         The “participation gap” is the difference, expressed in percentage points,
between the percentage of students who are girls and the percentage of athletic
participation opportunities (as measured by the number of roster spots) provided to
girls. The participation gap is a key measure used to assess Title IX compliance.
The U.S. Department of Education’s Office for Civil Rights collects athletic
participation data from public schools nationwide as part of the Civil Rights Data
Collection. See Department of Education, Office for Civil Rights, Civil Rights
Data Collection, https://www2.ed.gov/about/offices/list/ocr/data.html.

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       154. Upon information and belief, the DOE does not have a history and

continuing practice of expanding athletic programs for girls at Campbell, and

therefore do not satisfy part two of the three-part test.

       155. The DOE will not establish that they have met Campbell girls’

interests and abilities in playing sports in greater numbers, regarding part three of

the three-part test.

   III.   The DOE’s Responses to Title IX Complaints

   A. Retaliation

       156. Under Title IX, a plaintiff is not obligated to provide notice or to

exhaust administrative remedies. Nevertheless, Plaintiffs and other Campbell

female athletes, and their parents and coaches, have made numerous written and

oral requests seeking equal accommodation and attempting to engage in

discussions with the DOE towards that end. Despite these efforts, the DOE’s

discrimination against and unequal treatment of Plaintiffs has been persistent and

ongoing. And instead of addressing Plaintiffs’ concerns, the DOE has retaliated

against Plaintiffs.

       157. On many occasions, Plaintiffs and their female athlete classmates,

parents, and coaches have complained to the DOE and voiced their concerns about

the unfair treatment that female athletes have received at Campbell.




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      158. The DOE and the Campbell administration have not addressed the

complaints or concerns raised by the female athletes of Campbell.

      159. Instead of addressing the female athletes’ serious concerns, the DOE

and the Campbell administrators retaliated. For example, the DOE and the

Campbell administrators, on at least three separate occasions, threatened to

“cancel” the water polo team, the water polo season, or both.

      160. The DOE and the Campbell administrators also retaliated by

increasing their scrutiny of, showing more hostility towards, and withholding

resources, funding, coaching, and other support from the girls’ water polo program.

For example, the DOE and the Campbell administrators withheld funding by

refusing to sign a $1,000 grant that was given to the water polo program, which

forced the program to seek assistance from a different non-profit organization. As

another example, shortly after one heated meeting among water polo athletes, their

parents, and the Campbell Principal and Athletic Director, the Campbell

administrators informed the water polo athletes that about half of the program’s

paperwork (e.g., doctor’s physical evaluation forms, parental consent forms) was

missing. Even though this paperwork had, in fact, been completed and submitted

by the water polo athletes, the Campbell administrators told the water polo athletes

that they needed to resubmit all of these forms.




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   B. Inaction

      161. On February 9, 2018, the ACLU of Hawaii sent a letter to various

DOE officials—including Superintendent Christina Kishimoto, Assistant

Superintendent for School Facilities and Support Services Dann Carlson, and Civil

Rights Compliance Office Director Anne Marie Puglisi—regarding sex

discrimination against female athletes in Hawaii. Among other things, the letter

noted that fourteen DOE high schools “do not have athletic locker rooms for

female students, while having such facilities for male students.”

      162. The letter requested that, by March 12, 2018, the DOE respond with

“a plan that concretely addresses the glaring inequality between girls’ and boys’

athletic facilities in DOE schools.” The letter also requested that that plan ensure

that DOE schools become “fully compliant with Title IX by the first day of the

2018-19 school year.”

      163. On March 2, 2018, the DOE sponsored three 45-minute-long meetings

at Campbell in which representatives from each of the Campbell girls’ sports

programs met with Title IX compliance specialists from the DOE’s Civil Rights

Compliance Office to raise concerns about gender equity in athletics.23



      23
        The DOE’s Civil Rights Compliance Office was recently renamed the
“Civil Rights Compliance Branch.” See
http://www.hawaiipublicschools.org/ConnectWithUs/Organization/OfficesAndBra
nches/Pages/CRCO.aspx.

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      164. The ACLU of Hawaii represented some of the students and parents at

the March 2, 2018 meetings.

      165. Upon information and belief, the DOE has not made any meaningful

changes to the athletics program at Campbell or other DOE schools in response to

these March 2, 2018 meetings and/or other similar meetings held at other DOE

schools.

      166. The ACLU of Hawaii repeatedly requested that the DOE share its past

and present Title IX compliance plans and policies, including its written plan to

address the inequities described in the February 9, 2018 demand letter.

      167. Concerned by the DOE’s failure to provide meaningful information

about its Title IX compliance findings, plans, and processes, the ACLU of Hawaii

turned to public records requests under the Uniform Information Practices Act

(“UIPA”) to obtain information on the DOE’s past and present Title IX compliance

efforts. In response to these requests, the ACLU of Hawaii received few

documents and little clarity about the DOE’s Title IX compliance efforts.

      168. More specifically, on July 12, 2018, the ACLU of Hawaii submitted a

UIPA request seeking information regarding (1) Campbell’s athletic facilities,

including their use by sport and gender; (2) Campbell’s athletic budgets, including

line items broken down by team and gender; (3) DOE policies and plans regarding

athletic budgeting and financial decision-making; (4) findings, conclusions, and


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recommendations from the gender equity assessments and site visits that the DOE

purported to conduct in or around March 2018; (5) enrollment data by gender and

gender participation rates in athletic programs; and (6) other plans and policies to

remedy already-identified and future gender-based disparities.

      169. In response to this July 12, 2018 request, the DOE provided very few

documents, some of which were publicly available, and almost all of which

provided insufficient detail. In fact, excluding coaching payroll data, the DOE

provided only four documents, totaling nine pages. One of these documents was a

publicly available campus map. Another was a 1.5-page document purporting to be

a “System of Self-Assessment, Reporting, and Monitoring” for Title IX

compliance in DOE athletic programs. Notably, the DOE withheld all records

relating to the March 2018 assessments and site visits and its plans to remedy

already-identified gender-based disparities “due to government frustration.” The

DOE also redacted all names from the payroll data it provided, even though H.R.S.

§ 92F-12(a)(14) requires the disclosure of, among other things, the name and

compensation of state employees. Despite the paucity of records provided by the

DOE, it nevertheless affirmed that “[e]very record found to be responsive [wa]s

provided in its entirety.”

      170. On August 27, 2018, the ACLU of Hawaii submitted a second UIPA

request again seeking more information regarding (1) features and dimensions of


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Campbell’s athletic facilities; (2) Campbell’s athletic rosters; (3) the names,

positions, and compensation of all athletic staff at Campbell; and (4) the DOE’s

policies and procedures regarding athletic coaching.

      171. In response to this August 27, 2018 request, the DOE provided three

documents and one spreadsheet: a document with architectural plans for Campbell,

a document containing payroll data showing the names of the athletic staff, a

spreadsheet outlining DOE’s athletic position pay rates, and an “Athletic

Handbook” dated June 2009. The DOE also provided partially redacted rosters.

      172. In sum, despite multiple attempts through several different avenues,

the DOE continues to place the issues of Title IX compliance and gender equity

within a black box that is shielded from public scrutiny.

      173. The discrimination against the female athletes of Campbell persists

today in the midst of the fifth month of the 2018-19 school year.

      174. The DOE, through its actions and omissions—and the actions and

omissions of its officials, employees, and agents, including the OIA—has engaged

and continues to engage in gender-based discrimination against girls who desire to

play scholastic competitive-level sports for Campbell.

      175. Plaintiffs bring this lawsuit to end Defendants’ ongoing and

systematic violations of the basic civil rights of girls who participate, or desire to

participate, in the Campbell athletics program.


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      176. As discussed above, these violations are symptomatic of pervasive,

systemic and longstanding practices and policies of Defendants that deny girls an

equal opportunity to participate in athletic programs and enjoy the breadth of

educational, health, and professional benefits that flow from such participation.

   IV.    The Effects of the Unequal Treatment and Opportunities for Female
          Athletes

      177. Plaintiffs are under no obligation to show particular negative effects to

prove Title IX violations.

      178. Nonetheless, Plaintiffs take this opportunity to assert the harms they

have suffered. Defendants’ unequal treatment has many negative consequences on

Plaintiffs’ academic performance, athletic performance, family obligations, and

ability to obtain athletic scholarships for college.

      179. Additionally, because of Defendants’ unlawful treatment, Plaintiffs

believe they and fellow female athletes are valued less—that they are second-class.

Indeed, as one court has found, the practice of providing such unequal treatment

“sends the clear message that female athletes are subordinate to their male

counterparts, and that girls’ sports take a backseat to boys’ sports.” Communities

for Equity v. Michigan High Sch. Athletic Ass’n, 178 F. Supp. 2d 805, 836 (W.D.

Mich. 2001), aff’d, 459 F.3d 676 (6th Cir. 2006). Similarly, in the 2010 lawsuit

concerning Maui’s Baldwin High School, Judge Ezra elaborated on how “the

psychological aspects” of gender inequities “are huge for girls”:

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      When these boys run out on that stadium field, they have a sense of
      pride. It fills them with a sense that they have accomplished
      something. When a girl is relegated to running out on a dirt field in
      some park, are they filled with the same kind of pride? I don’t think
      so. And I don’t think it takes a genius to figure out those differences.24

      180. Because of the inequities perpetuated by Defendants, Campbell also

loses out on opportunities to host games, tournaments, and other competitions for

girls’ sports, which further negatively impacts female athletes’ educational and

athletic experiences.

      181. Additionally, the poor treatment results in Campbell female athletes

failing to achieve their full athletic potential, and thereby losing out on

opportunities to win scholarships for post-secondary education.

      182. For example, because of the consistent manner in which the DOE fails

to provide or delays providing a pool in which to practice, A.B., T.T., and their

teammates are deprived of opportunities to practice in regulation water polo

conditions, and to practice the specific skills required to excel as water polo

athletes. Similarly, because of the consistent manner in which the DOE unlawfully

discriminates in providing sufficient and high-quality coaching—thereby leading

to frequent changes in coaching staff—A.B., T.T., and their teammates constantly

have to form new relationships and adapt to each coach’s communication and



      24
         Nobriga v. Dep’t of Educ., State of Hawaii, 1:10-cv-159-DAE-LK, Doc.
37, at 34 (D. Haw. Apr. 7, 2010).

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coaching style. This further prevents A.B., T.T., and their teammates from

reaching their full potential as water polo athletes.

      183. As another example, T.T.’s negative experience with the Campbell

athletics program has put her collegiate scholarship opportunities at risk. As a

sophomore, T.T. was one of Hawaii’s top high school water polo athletes. As a

junior, T.T. aspired again to be one of the state’s top athletes. College scouts

reached out to her expressing interest in her athletic abilities. But T.T.’s aspirations

were severely hampered by the DOE’s failure to timely provide access to a pool

for the Campbell girls’ water polo program during the 2017-18 school year. By the

time the water polo season had started, the team had not yet set foot in a pool for

practice because the DOE had failed to secure a pool for the program. Thrown off

by the inability to practice in a pool, the Campbell girls’ water polo team lost two

of its first four games. As a result of the DOE’s inequitable treatment of the girls’

water polo team, T.T. could not perform as well as she would have liked. T.T.

missed out on improving her water polo play statistics, which are important to

college scouts.

                        CLASS ACTION ALLEGATIONS

      184. Plaintiffs reallege and incorporate by reference as though fully

contained herein, the allegations set forth in the preceding paragraphs.




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      185. The named Plaintiffs bring this action on behalf of themselves and on

behalf of a class of all those similarly situated pursuant to Rule 23(a) and (b)(2) of

the Federal Rules of Civil Procedure.

Definition

      186. Plaintiffs seek to represent a class of all present and future Campbell

female students and potential students who participate, seek to participate, and/or

are or were deterred from participating in athletics at Campbell (the “Class”).

Numerosity

      187. The Class is so numerous that joinder of all members is impractical.

      188. Plaintiffs are informed and believe, and based thereon allege, that in

the 2017-18 school year, the latest time period during which information is

publicly available, there were 1,506 female students in grades 9-12 at Campbell

and approximately 345 female students in the athletics program.

      189. It is unknown how many additional current female students or how

many additional future female students would seek to participate in interscholastic

athletics if additional opportunities were available. Moreover, members of the

Class who may suffer future injury are not capable of being precisely identified at

this time, as the Class includes future Campbell female athletes. Upon information

and belief, accordingly, class members number in the hundreds and possibly

thousands.


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Common Questions of Law and Fact

      190. Common questions of law and fact predominate, and include: (a)

whether current and future female student athletes at Campbell are receiving

unequal treatment and benefits in comparison to the male student athletes; (b)

whether current and future female students at Campbell are being deprived of

equal opportunities to participate in interscholastic sports; and (c) whether current

and future female students at Campbell are being retaliated against for complaining

about sex discrimination.

Typicality

      191. The claims of the named Plaintiffs are typical of the claims of the

Class. The type of discrimination and retaliation that Plaintiffs have suffered as a

result of sex include: receipt of unequal treatment and benefits in Campbell’s

sports programs in addition to exclusion from opportunities to participate in sports

programs at Campbell. Such discrimination is typical of the sex discrimination

that members of the Class have suffered, are suffering, and, unless this Court

grants relief, will continue to suffer.

      192. A.B. is a typical member of the proposed class. She is a current

female student athlete at Campbell for the 2018-19 school year who is subject to

discriminatory unequal participation opportunities due to Defendants’ failure to

accommodate female students’ athletic interests and abilities as well as provide


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equal treatment and benefits to female student athletes. Defendants have subjected

A.B. to sex-based discrimination.

      193. T.T. is a typical member of the proposed class. She is a current female

student athlete at Campbell for the 2018-19 school year who is subject to

discriminatory unequal participation opportunities due to Defendants’ failure to

accommodate female students’ athletic interests and abilities as well as provide

equal treatment and benefits to female student athletes. Defendants have subjected

T.T. to sex-based discrimination.

Adequacy of Representation

      194. The named Plaintiffs will fairly and adequately represent and protect

the interests of the Class because they seek relief on behalf of the Class they

represent as a whole and have no interest antagonistic to other members of the

Class. Plaintiffs intend to prosecute this action rigorously in order to secure

remedies for the entire class.

      195. The named Plaintiffs are represented by counsel from the ACLU of

Hawaii; Legal Aid at Work; and Simpson Thacher & Bartlett LLP. Counsel are

experienced in state and federal civil rights litigation and class actions, including

specifically Title IX class action litigation.

Rule 23(b)(2)




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      196. Defendants have acted or refused to act on grounds generally

applicable to the Class, thereby making appropriate final declaratory and injunctive

relief with respect to the Class as a whole under Rule 23(b)(2) of the Federal Rules

of Civil Procedure.

                DECLARATORY AND INJUNCTIVE RELIEF

      197. An actual and immediate controversy exists between Plaintiffs and

Defendants, which parties have genuine and opposing interests and which interests

are direct and substantial. Plaintiffs contend that Defendants violated their rights

and the rights of the Class under federal anti-discrimination law. Plaintiffs are

informed and believe and, based thereon, allege that Defendants deny these

allegations. Declaratory relief is therefore necessary and appropriate.

      198. Plaintiffs and the class members have no plain, adequate, or complete

remedy at law. Unless enjoined by the Court, Defendants will continue to infringe

on Plaintiffs’ and class members’ statutory rights and will continue to inflict

irreparable injury. This threat of injury to Plaintiffs and class members from

continuing violations requires permanent injunctive relief.

                          FIRST CLAIM FOR RELIEF

Violations of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681
                    et seq. and Its Implementing Regulations
           (Unequal Treatment and Benefits in Athletic Programs)
                             (Against All Defendants)



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      199. Plaintiffs reallege and incorporate by reference as though fully

contained herein, the allegations set forth in the preceding paragraphs.

      200. Title IX provides: “No person . . . shall, on the basis of sex, . . . be

denied the benefits of, or be subjected to discrimination under any education

program or activity receiving Federal financial assistance . . . .” 20 U.S. C. §

1681(a).

      201. Since the passage of Title IX, the DOE has received and continues to

receive federal financial assistance and the benefits therefrom. Therefore, all of the

DOE’s programs, including its athletic programs, and all officials, employees

and/or agents of the DOE, are bound by the requirements of Title IX and its

implementing regulations. 20 U.S.C. § 1687. This includes the OIA, which both is

a part of, and controls, the DOE’s athletic programs.

      202. Title IX’s implementing regulations provide: “No person shall, on the

basis of sex, . . . be denied the benefits of, be treated differently from another

person or otherwise be discriminated against in any interscholastic, intercollegiate,

club or intramural athletics offered by a recipient, and the recipient shall provide

any such athletics separately on such basis.” 34 C.F.R. § 106.41(a).

      203. Under Title IX, schools must provide “equal treatment and benefits”

to members of both sexes in their athletic programs. 44 Fed. Reg. 71,413 (1979),

the Department of Education, Office for Civil Rights’ 1979 Policy Interpretation


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(“1979 Policy Interpretation”). Equal treatment and benefits are assessed based on

an overall comparison of the male and female student athletic programs, including

an analysis of the following factors, among other considerations: “The provision of

equipment and supplies; Scheduling of games and practice time; Opportunity to

receive coaching . . .; Assignment and compensation of coaches . . .; Provision of

locker rooms, practice and competitive facilities; Provision of medical and training

facilities and services; . . . Publicity” and a school’s “failure to provide necessary

funds for teams for one sex.” 34 C.F.R. § 106.41(c)(2)–(10). See also Ollier v.

Sweetwater Union High Sch. Dist., 858 F. Supp. 2d 1093, 1115 (S.D. Cal. 2012),

enforced, No. 07CV714-L JMA, 2014 WL 1028431 (S.D. Cal. Mar. 17, 2014),

aff’d, 768 F.3d 843 (9th Cir. 2014) (finding “[d]efendants have violated Title IX in

failing to provide equal treatment and benefits,” with respect to plaintiffs’

treatment and benefits claim).

      204. The Title IX implementing regulations required that sponsors of

interscholastic athletics comply with the regulations within three years of their

effective date, or by July 21, 1978, at the latest. The regulations further require that

sponsors of interscholastic athletics take such remedial actions as are necessary to

overcome the effects of sex discrimination in violation of Title IX. 34 C.F.R.

§106.3(a).




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      205. Plaintiffs are informed and believe, and based thereon allege, that

Defendants have not taken remedial actions and that any remedial actions which

Defendants have taken in the past have been insufficient to satisfy Defendants’

obligations under Title IX.

      206. Defendants have violated Title IX and its implementing regulations by

discriminating against female students, including Plaintiffs, by, among other

things, failing to provide female student athletes from Campbell with treatment and

benefits that are comparable to the treatment and benefits provided to male student

athletes.

      207. Defendants’ inequitable treatment of Campbell female athletes

demonstrates Defendants’ failure to comply with Title IX.

      208. As a proximate result of these unlawful acts, Plaintiffs and the Class

have suffered and continue to suffer irreparable injury.

      209. Plaintiffs and the Class are entitled to relief, including declaratory

relief and injunctive relief, as well as reasonable attorneys’ fees and costs.

                         SECOND CLAIM FOR RELIEF

Violations of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681
                    et seq. and Its Implementing Regulations
         (Unequal Participation Opportunities in Athletic Programs)
                             (Against All Defendants)




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      210. Plaintiffs reallege and incorporate by reference as though fully

contained herein, the allegations set forth in the preceding paragraphs.

      211. Title IX provides: “No person . . . shall, on the basis of sex, be

excluded from participating in . . . or be subjected to discrimination under any

education program or activity receiving Federal financial assistance.” 20 U.S. C. §

1681(a).

      212. Title IX’s implementing regulations provide: “No person shall, on the

basis of sex, be excluded from participation in, . . . or otherwise be discriminated

against in any interscholastic, intercollegiate, club or intramural athletics offered

by a recipient, and the recipient shall provide any such athletics separately on such

basis.” 34 C.F.R. § 106.41(a).

      213. Under Title IX, schools must provide both sexes equivalent athletic

participation opportunities. See 1979 Policy Interpretation.

      214. “In determining whether equal opportunities are available,” it must be

considered, “[w]hether the selection of sports and levels of competition effectively

accommodate the interests and abilities of members of both sexes” 34 C.F.R. §

106.41(c)(1); see also Ollier v. Sweetwater Union High Sch. Dist., 604 F. Supp. 2d

1264, 1275 (S.D. Cal. 2009), aff’d, 768 F.3d 843 (9th Cir. 2014) (finding

“defendants are not in compliance with Title IX based on unequal participation




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opportunities in athletic program,” with respect to plaintiffs’ unequal participation

opportunities claim).

      215. Compliance in the area of equivalent participation opportunities is

determined by a three-part test.

      216. The first part of the test considers: “Whether intercollegiate level

participation opportunities for male and female students are provided in numbers

substantially proportionate to their respective enrollments[.]” Id. at 71,418 (Section

VII(C)(5)(a)(1)).

      217. The second part of the test considers: “Where the members of one sex

have been and are underrepresented among intercollegiate athletes, whether the

institution can show a history and continuing practice of program expansion which

is demonstrably responsive to the developing interest and abilities of the members

of that sex[.]” Id. at 71,418 (Section VII(C)(5)(a)(2)).

      218. The third part of the test considers: “Where the members of one sex

are underrepresented among intercollegiate athletes, and the institution cannot

show a continuing practice of program expansion such as that cited above, whether

it can be demonstrated that the interests and abilities of the members of that sex

have been fully and effectively accommodated by the present program.” Id. at

71,418 (Section VII(C)(5)(a)(3)).




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      219. Although the 1979 Policy Interpretation refers to “intercollegiate”

sports, it also applies to high schools. See Ollier v. Sweetwater Union High Sch.

Dist., 768 F.3d 843, 855 (9th Cir. 2014) (“[T]he three-part test applies to a high

school.”); see also McCormick ex rel. McCormick v. School Dist. of Mamaroneck,

370 F.3d 275, 300 (2d Cir. 2004) (applying three-part test to high school). Indeed,

Title IX is applicable to all recipients of federal education funds, including high

schools, and thus the 1979 Policy Interpretation is applicable to interscholastic

high school sports as well as intercollegiate sports. 34 C.F.R. § 106.11.

      220. With respect to the first part of the three-part test, Plaintiffs are

informed and believe, and based thereon allege, that the ratio of female to male

athletes at Campbell is not substantially proportionate to the overall ratio of

enrolled female to male students at Campbell.

      221. Further, with respect to the second part of the three-part test,

Defendants cannot show “a history and continuing practice of program expansion

which is demonstrably responsive to the developing interest and abilities” of

Campbell’s female students. Mansourian v. Regents of the Univ. of Calif., 602 F.3d

958, 965 (9th Cir. 2010) (citing Office for Civil Rights, Guidance: The Three-Part

Test (1996)). Rather, female students have historically been and continue to be

underrepresented in the Campbell and DOE athletics programs. Defendants bear

the burden on part two, an affirmative defense, and must show a history and


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continuing practice of adding athletic opportunities for females. See Ollier v.

Sweetwater Union High Sch. Dist., 768 F.3d 843, 857-58 (9th Cir. 2014).

      222. Finally, with respect to part three of the three-part test, despite this

underrepresentation and despite the interests and abilities of female students at

Campbell to participate on additional teams, Defendants have not adequately met

the interests and abilities of female student-athletes.

      223. As a proximate result of these unlawful acts, Plaintiffs and the Class

have suffered and continue to suffer irreparable injury.

      224. Plaintiffs and the Class are entitled to relief, including declaratory

relief and injunctive relief, as well as reasonable attorneys’ fees and costs.

      225. Such injunctive relief may include, but is not limited to, the provision

of the full range of teams and participation slots in existing sports, with teams for

all grade levels, including novice, junior varsity, and varsity-level opportunities for

female student athletes.

                           THIRD CLAIM FOR RELIEF

Violations of Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681
                    et seq. and Its Implementing Regulations
                                    (Retaliation)
                         (Against Defendant DOE Only)

      226. Plaintiffs reallege and incorporate by reference as though fully

contained herein, the allegations set forth in the preceding paragraphs.



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      227. Title IX and its implementing regulations prohibit retaliation for

complaints of sex discrimination. See Jackson v. Birmingham Bd. of Educ., 544

U.S. 167, 171 (2005); Ollier v. Sweetwater Union High Sch. Dist., 768 F.3d 843,

869 (9th Cir. 2014).

      228. On several occasions, Plaintiffs A.B. and T.T. and other Class

members complained to the DOE about its unequal treatment of the Campbell

girls’ water polo program. These complaints were submitted in both oral and

written form.

      229. Plaintiffs A.B. and T.T. and other Class members also engaged in

both individual and entire-team meetings with the Campbell Principal and Athletic

Director to discuss this unequal treatment. During these meetings, Plaintiffs A.B.

and T.T. and other Class members—sometimes with their parents—expressed

concern about the inequitable way that the DOE treated the Campbell girls’ water

polo program, as evidenced most strikingly by the DOE’s continual failure to

timely secure a practice facility for the team.

      230. After Plaintiffs A.B. and T.T. and other Class members complained

about the DOE’s sex discrimination, the DOE retaliated by threatening, on at least

three separate occasions, to “cancel” the water polo program, the water polo

season, or both. As noted above, on at least one occasion, the Campbell Athletic




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Director joked that, if the water polo program was going to lose a game, Campbell

should not even have a water polo program.

      231. Upon information and belief, after Plaintiffs A.B. and T.T. and other

Class members complained about the DOE’s sex discrimination, the DOE

retaliated by increasing its scrutiny of, and showing more hostility towards, the

Campbell girls’ water polo program. This includes the DOE’s instruction that

Campbell water polo athletes resubmit athletic paperwork that the athletes had

already submitted, as noted above.

      232. Upon information and belief, after Plaintiffs A.B. and T.T. and other

Class members complained about the DOE’s sex discrimination, the DOE also

retaliated by deliberately withholding resources, funding, coaching, and other

support from the girls’ water polo program that it otherwise would have provided

had Plaintiffs and other Class members not lodged complaints. This includes the

withholding of funding by refusing to sign a $1,000 grant, as noted above.

      233. Also, as a result of the DOE’s retaliatory acts, Plaintiffs A.B. and T.T.

and other Class members are concerned that the DOE will retaliate again if they

continue to complain about the DOE’s sex discrimination. Plaintiffs A.B. and T.T.

and other Class members are dissuaded from raising the issue of sex discrimination

with the DOE.




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      234. The DOE’s retaliatory acts have also created a chilling effect among

Campbell’s female athletes regarding identifying and complaining about other

gender inequities in athletics to the DOE.

      235. The DOE’s retaliatory acts were motivated by Plaintiffs A.B. and T.T.

and other Class members lodging their complaints of sex discrimination.

      236. As a proximate result of these unlawful acts, Plaintiffs and the Class

have suffered and continue to suffer irreparable injury.

      237. Plaintiffs and the Class are entitled to relief, including declaratory

relief and injunctive relief, as well as reasonable attorneys’ fees and costs.

                              PRAYER FOR RELIEF

WHEREFORE, Plaintiffs and the other class members pray that this Court:

          A. Assume jurisdiction over this action;

          B.   Certify the Class as proposed above, appoint the named Plaintiffs to

               serve as representatives of the Class, and appoint undersigned

               counsel to represent the Class;

          C.   Enter an order declaring that Defendants have discriminated on the

               basis of sex against female students in violation of Title IX;

          D. Enter an order declaring that Defendant DOE has retaliated against

               female students in violation of Title IX;




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         E.   Issue a permanent injunction against Defendants (and their divisions,

              officers, servants, employees, attorneys, agents and representatives,

              successors-in-office and all persons acting or purporting to act in

              concert or in cooperation with Defendants or pursuant to

              Defendants’ authority):

               i. enjoining Defendants from retaliating and discriminating on the

                   basis of sex against female students;

               ii. requiring Defendants to remediate their violations of Title IX

                   by, among other required actions, providing female student

                   athletes with treatment and benefits comparable to those

                   provided to male student athletes and affording female students

                   the equal opportunity to participate in school-sponsored sports;

         F.   Retain jurisdiction over Defendants until such time as the Court is

              satisfied that Defendants’ unlawful customs, policies, practices,

              rules, regulations, acts and omissions complained of herein no

              longer exist and will not recur;

         G. Award reasonable attorneys’ fees, costs and other expenditures

              incurred as a result of bringing this action, pursuant to 42 U.S.C.

              § 1988 and other applicable laws; and

         H. Order such other relief as this Court deems just and proper.


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Dated: Honolulu, Hawaii, December 6, 2018.



                                   Respectfully submitted,

                                   /s/ Mateo Caballero
                                   Mateo Caballero

                                   ACLU OF HAWAII FOUNDATION

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